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                                     UNITED STATES DISTRICT COURT

                                   SOUTHERN DISTRICT OF NEW YORK

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JANE DOE,                                                                :   Civil Action No. 23-cv-10628 (JGLC)
                                                                         :
                                         Plaintiff,                      :
                                                                         :
                          v.                                             :
                                                                         :
SEAN COMBS; HARVE PIERRE; THE THIRD                                      :
ASSAILANT; DADDY’S HOUSE RECORDINGS, :
INC. and BAD BOY ENTERTAINMENT                                           :
HOLDINGS, INC.,                                                          :
                                                                         :
                                         Defendants.                     :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


          SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF
     CORPORATE DEFENDANTS’ MOTION TO DISMISS AND IN SUPPORT OF
     MOTION ON THE PLEADINGS ON BEHALF OF DEFENDANT SEAN COMBS


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        This supplemental memorandum of law is respectfully submitted on behalf of the

Corporate Defendants in further support of the Motion to Dismiss [Dkt. Nos. 41-43] because of a

decision handed down by the Honorable Lewis A. Kaplan on February 21, 2024, which provides

yet another basis to dismiss this action against the Corporate Defendants based on the running of

the statute of limitations.

        Defendant Sean Combs, who answered the Complaint, joins this supplemental

memorandum in support of his motion, under Fed. R. Civ. P. 12(c), for judgment on the pleadings

(the “Rule 12(c) Motion”). 1

        The Court’s consideration of Judge Kaplan’s decision in Bellino v. Tallarico, No. 24-cv-

0712, Dkt. No. 7 (S.D.N.Y. Feb. 22, 2024), which controls the final disposition of this case, will

conserve judicial resources and minimize the legal costs of the parties. 2

                                     PRELIMINARY STATEMENT

        Plaintiff alleges a single cause of action against the five defendants under New York City’s

Victims of Gender-Motivated Violence Protection Law. N.Y.C. Admin. Code §§ 10-1101, et seq.

(the “VGM”). Defendants have categorically denied Plaintiff’s allegations in the Complaint. The

lawsuit has singlehandedly irreparably damaged the Individual Defendants’ reputations and their

standing in the community and has resulted in them becoming victims of the “cancel culture”

frenzy in the courts – well before any evidence has been presented, and on the basis of rank,

uncorroborated allegations.


1
 Having answered the Complaint, the Rule 12(c) Motion is timely. See Fed. R. Civ. P. 12(c) (“After the pleadings are
closed – but early enough not to delay trial – a party may move for judgment on the pleadings.”). Accompanying this
memorandum of law is a notice of motion.
2
 The defined terms in the “Memorandum of Law in Support of Motion to Dismiss the Complaint Against Defendants
Daddy’s House Recordings Studio, Inc. and Bad Boy Entertainment Holdings, Inc.” [Dkt. 43] (the “Corp. Defs’
Mem.”) are incorporated herein unless otherwise stated.



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         On February 20, 2024, the Corporate Defendants filed the Motion to Dismiss, contending

that Plaintiff’s claim fails as a matter of law against the Corporate Defendants because: (1) the

provisions of the VGA on which the claim relies are without retroactive effect; (2) the Complaint’s

threadbare allegations fail to state a claim for which relief can be granted; and (3) the Individual

Defendants’ conduct cannot be imputed to the Corporate Defendants. See Corp. Defs’ Mem. Mr.

Combs and Mr. Pierre have answered the Complaint, denying the allegations therein. [Dkt. Nos.

38, 44.]

         One day after Defendants filed their responses, Judge Kaplan issued a first-of-its-kind

opinion, holding that the claim-revival provision of the VGM is preempted by the adoption by the

New York State Legislature (the “NY Legislature”) of the Child Victims Act (“CVA”) and the

Adult Survivors Act (“ASA”). Bellino v. Tallarico, No. 24-cv-0712, Dkt. No. 7. 3 Under Judge

Kaplan’s reasoning, Plaintiff’s claim, which is brought under the VGM’s claim-revival provision,

is preempted by the CVA and ASA, and therefore must be dismissed with prejudice.

         The Corporate Defendants filed the Motion to Dismiss only three days ago. Good cause

exists to consider this supplemental submission in deciding that motion. The preemption ground

applied by Judge Kaplan interrelates with the Corporate Defendants’ retroactivity argument,

insofar as both concern the timeliness of Plaintiff’s claim. See Corp. Defs.’ Mem. at 4-7.

Furthermore, the opinion is controlling precedent that compels dismissal of Plaintiff’s claim with

prejudice. See DeSimone v. Select Portfolio Servicing, Inc., No. 20-cv-3837 (PKC) (TAM), 2023



3
  Judge Kaplan is a leading jurist regarding New York’s claim-revival statutes. See Carroll v. Trump, 650 F. Supp. 3d
213 (S.D.N.Y. 2023). For the Court’s convenience, both Judge Kaplan’s opinion in Bellino and the memorandum of
law containing the reasoning his Honor substantially adopted are attached to the Supplemental Declaration of Jonathan
D. Davis as Exhibits A and B, respectively.




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WL 6450236, at *4 (E.D.N.Y. Sept. 30, 2023) (“While it would be ideal for parties to discover

and submit all relevant [authority] before a motion is fully briefed, ‘[i]t is fairly standard practice

for parties to send letters or to otherwise file supplemental authority after briefing is complete.’”

(quoting Delgado v. Ocwen Loan Servicing, LLC, No. 13-cv-4427 (NGG) (ST), 2016 WL

4617159, at *7 (E.D.N.Y. Sept. 2, 2016)).

       Moreover, permitting the Corporate Defendants to supplement the Motion to Dismiss now

will promote judicial economy and conserve judicial and party resources. See Fed. R. Civ. P. 1

(the Federal Rules should be “construed, administered, and employed by the court and the parties

to secure the just, speedy, and inexpensive determination of every action”). Also, consideration of

this additional ground will allow the parties to brief – and the Court to decide – the Motion to

Dismiss and preemption argument at one time. Otherwise, the Corporate Defendants may have to

file a separate motion under Fed. R. Civ. P. 12(c) for judgment on the pleadings.

       Finally, Plaintiff will not be prejudiced if the Court considers the preemption argument

now, as the Corporate Defendants filed the Motion to Dismiss this week, and Plaintiff, who has

not yet responded, will have the unrestricted opportunity to respond to all of Defendants’

arguments at one time. Accordingly, it is respectfully submitted that the Court should not be

hesitant to decide the preemption argument now.

                         RELEVANT COMPLAINT ALLEGATIONS

       The material allegations of the Complaint are recited in the Motion to Dismiss. See Corp.

Defs.’ Mem. at 2-3. Critical to the argument in this memorandum, however, is that all misconduct

alleged in the Complaint occurred in 2003. See, e.g., Compl. ¶ 6. Because Plaintiff’s claim accrued

in 2003, it expired under the VGM’s 7-year statute of limitations in 2010. Thus, Plaintiff relies on

the claim-revival provision of the VGM, which purports to revive claims that have otherwise


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expired under the VGM’s statute of limitations. Id. ¶ 59 (“Pursuant to § 10-1105(a), this cause of

action is timely because it is commenced within ‘two years and six months after September 1,

2022.’”).

                                          ARGUMENT

                                   STANDARD OF REVIEW

       “The standard for granting a Rule 12(c) motion for judgment on the pleadings is identical

to that for granting a Rule 12(b)(6) motion for failure to state a claim.” Lively v. WAFRA Inv.

Advisory Grp., Inc., 6 F.4th 293, 301 (2d Cir. 2021) (quoting Lynch v. City of New York, 952 F.3d

67, 75 (2d Cir. 2020)). Thus, under either Fed. R. Civ. P. 12(b)(6) or Fed. R. Civ. P. 12(c), subject

to certain limitations, a district court must “accept[] all of the complaint’s factual allegations as

true and draw[] all reasonable inferences in the plaintiffs’ favor.” Giunta v. Dingman, 893 F.3d

73, 79 (2d Cir. 2018). Dismissal is warranted if the complaint fails to plead allegations which, if

accepted as true, state a plausible claim. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       “A claim has ‘facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.’”

Forest Park Pictures v. Universal Television Network, Inc., 683 F.3d 424, 429 (2d Cir. 2012)

(quoting Iqbal, 556 U.S. at 678). While a plaintiff is not required to provide “detailed factual

allegations,” a complaint must assert “more than labels and conclusions” and “a formulaic

recitation of the elements of a cause of action will not do.” Iqbal, 556 U.S. at 678 (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).




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                                                     POINT I

           PLAINTIFF’S CLAIM IS TIME-BARRED BECAUSE THE VGM’S
        CLAIM-REVIVAL PROVISION IS PREEMPTED BY THE ASA AND CVA

         In 2000, the New York City Council (the “City Council”) passed the VGM. See N.Y.C.

Admin. Code §§ 10-1101, et seq.; see also Louis v. Niederhoffer, No. 23-cv-6470 (LTS), 2023 WL

8777015, at *1 (S.D.N.Y. Dec. 19, 2023). The VGM carries a 7-year statute of limitations. Id. §

10-1105. The alleged misconduct underlying Plaintiff’s claim occurred in 2003. See Compl. ¶ 6.

Thus, Plaintiff’s claim expired in 2010 and is now time-barred.

         In 2019, however, the NY Legislature passed the CVA, which revived – for a limited period

of time – claims related to alleged “sexual offenses” under the New York Penal Law that were

committed against individuals under age 18. To effectuate this goal, the CVA added N.Y. C.P.L.R.

§ 214-g, creating a two-year claim-revival period. 4 Thus, under § 214-g, individuals, like Plaintiff,

who possessed expired sexual offense claims that allegedly occurred when they were under age

18, were entitled to pursue those expired claims, but only within a two-year window:

                  Notwithstanding any provision of law which imposes a period of
                  limitation to the contrary … every civil claim or cause of action
                  brought against any party alleging … conduct which would
                  constitute a sexual offense as defined in article one hundred thirty
                  of the penal law committed against a child less than eighteen years
                  of age … which is barred as of the effective date of this section
                  because the applicable period of limitation has expired ... is hereby
                  revived, and action thereon may be commenced not earlier than six
                  months after, and not later than two years and six months after the
                  effective date of this section. …

N.Y. C.P.L.R. § 214-g (emphasis added). The claim-revival window opened on August 14, 2019

and closed on August 14, 2021. See Oawlawolwaol, 2021 WL 4355880, at *1 n.1. Therefore,


4
 The statute originally provided for a 1-year claim-revival period, but later increased it to 2 years. See Oawlawolwaol
v. Boy Scouts of Am., No. 21-cv-4714 (PKC) (JMW), 2021 WL 4355880, at *1 n.1 (E.D.N.Y. Sept. 24, 2021).



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Plaintiff’s claim was revived on August 14, 2019, but expired on August 14, 2021 and became

time-barred. 5

            Notwithstanding her failure to timely file suit during the CVA’s 2-year window, Plaintiff

now improperly files her VGM claim, relying on the claim-revival provision in § 10-1105. Compl.

¶ 59. That provision, which the City Council added in 2022, provides a 2-year claim-revival

window ending in 2025:

                   Notwithstanding any provision of law that imposes a period of
                   limitation to the contrary, any civil claim or cause of action brought
                   under this chapter that is barred because the applicable period of
                   limitation has expired is hereby revived and may be commenced not
                   earlier than six months after, and not later than two years and six
                   months after, September 1, 2022.

N.Y.C. Admin. Code § 10-1105. Plaintiff’s reliance on this provision of the VGM is barred

because, as Judge Kaplan ruled, § 10-1105 “is preempted by the state’s adoption of the [CVA] and

the [ASA],” and cannot form the basis of a timely claim. See Bellino, No. 24-cv-0712, Dkt. No. 7,

at 2-3. 6

            In so ruling, Judge Kaplan found that the VGM’s claim-revival provision was preempted

“substantially for the reasons set forth by the defendant.” Id. at 3. In support of his motion to

dismiss the complaint, the defendant there argued that state law may preempt local law either

expressly or implicitly. DJL Rest. Corp. v. City of New York, 96 N.Y.2d 91, 95 (N.Y. 2001). In



5
 In 2022, the NY Legislature passed the ASA to create a similar claims-revival window that expired in November
2023 for individuals alleging misconduct that occurred when they were age 18 or older. See N.Y. C.P.L.R. § 214-j.
Because Plaintiff alleges that she was age 17 at the time of the alleged misconduct, Compl. ¶ 6, the CVA is applicable.
6
  Judge Kaplan also found that plaintiff failed to plead facts amounting to a violation of the VGM, but he held
preemption to be an “independent” ground to dismiss. Bellino, No. 24-cv-0712, Dkt. No. 7, at 1-2. Further, it is notable
that Judge Kaplan granted defendant’s motion “readily,” even without plaintiff having opposed the motion. Id. at 1.
On Thursday, February 22, 2024, counsel for plaintiff wrote Judge Kaplan explaining that he was without notice of
the motion. However, given the Court’s observation that the “motion is disposed of readily” based on statute of
limitations grounds, there is little doubt that plaintiff’s opposition will not alter the outcome.


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cases of implicit field preemption, where the state legislature has “enacted a comprehensive and

detailed regulatory scheme in a particular area,” a local government, like the City Council, is

“precluded from legislating on the same subject matter unless it has received clear and explicit

authority to the contrary.” Id. (internal quotations and citations omitted).

           Here, the ASA and CVA comprise a comprehensive and detailed regulatory scheme

concerning the revival of claims derived from state-based sexual offenses. See Bellino, No. 24-cv-

0712, Dkt. No. 6, at 14. Indeed, the claim-revival provisions passed under the ASA and CVA cover

all claims and causes of action based on misconduct that constitutes an offense under N.Y. Penal

Law §§ 130, et seq. 7 See N.Y. C.P.L.R. §§ 214-g, 214-j (applying to “every civil claim or cause of

action brought against any party alleging … conduct which would constitute a sexual offense as

defined in article one hundred thirty of the penal law” (emphasis added)).

           Moreover, the ASA and the CVA expressly specify that they apply “notwithstanding any

provision of law which imposes a period of limitation to the contrary.” Id. (emphasis added). The

VGM’s claim-revival provision is indisputably “contrary” to that clause because it creates an

entirely separate claim-revival period for claims based on sexual offenses under state law.

Therefore, the VGM is preempted by the ASA and CVA.

           As the Bellino defendant explained, preemption of the VGM’s claim-revival provision by

the ASA and CVA is underscored by cases discussing the VGM prior to its amendment. See Doe

v. Gooding, No. 20-cv-06569 (PAC), 2022 WL 1104750, at *2 (S.D.N.Y. Apr. 13, 2022); 8

Engelman v. Rofe, 194 A.D.3d 26, 32 (1st Dep’t 2021). In Engelman, the First Department


7
    N.Y. Penal Law §§ 130, et seq. covers sexual offenses.
8
  Although Gooding was decided after the VGM’s amendment, that case did not discuss preemption of the claim-
revival provision because “Plaintiff’s claim would not need ‘revival’ because it never lapsed in the first place.”
Gooding, No. 20-cv-06569 (PAC), 2022 WL 1104750, at *3.


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considered whether the New York statute of limitations for assault and battery preempted the

VGM’s limitations period, and in so ruling that it did not, the court reasoned that “the legislative

intent of the VGM was to create a civil rights remedy or cause of action such as in [the Violence

Against Women Act], rather than to extend the statute of limitations for a particular class of

assaults.” 194 A.D.3d at 32 (emphasis added); see also Gooding, 2022 WL 1104750, at *2-3

(adopting Engelman).

       But each of those cases were decided without analysis of the claim-revival provisions of

the CVA, ASA, and VGM. Now that the City Council has amended the VGM to include a claim-

revival provision that mimics the CVA and ASA, it has effected precisely what the First

Department observed could not lawfully be done: “extend the statute of limitation for a particular

class of assaults.” Engelman, 194 A.D.3d at 32; see also New York City Health & Hosps. Corp. v.

Council of City of New York, 303 A.D.2d 69, 74 (1st Dep’t 2003) (“Nevertheless, the City Council

may not exercise its police power to adopt a law … which is inconsistent with a state statute”).

       The NY Legislature, through the passage of the CVA and ASA, intended to occupy the

entire field of statutes reviving claims based on sexual offenses under state law. The City Council,

through the VGM, cannot frustrate the NY Legislature’s statutory scheme by creating a separate,

inconsistent claim-revival window for the same claims. Accordingly, Plaintiff cannot rely on VGM

§ 10-1105. Her claim is time-barred and the Complaint must be dismissed.




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                                         CONCLUSION

       For all the foregoing reasons, the Corporate Defendants and Mr. Combs respectfully

request that the Court grant an order dismissing the Complaint with prejudice, together with such

other and further relief as the Court deems just and proper.

Dated: February 23, 2024
       New York, New York

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